         Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 1 of 22




                         UNITED STATES DISTRICT COURT

                                    FOR THE

                           DISTRICT OF MASSACHUSETTS



SONYA LARSON

                  Plaintiff,                   Civil Action No.
v.
                                               1;19-cv-10203-IT
DAWN DORLAND PERRY et al.,

                  Defendants.




     MEMORANDUM IN SUPPORT OF PLAINTIFF, DEFENDANT IN COUNTERCLAIM,
           SONYA LARSON’S MOTION TO DISMISS COUNTERCLAIM OF
       DEFENDANT, PLAINTIFF IN COUNTERCLAIM, DAWN DORLAND PERRY




                                    Sonya Larson,
                                    By her attorney,

May 15, 2020                        /s/ Andrew D. Epstein
                                    ___________________________
                                    Andrew D. Epstein, Esquire
                                    BBO #155140
                                    Barker, Epstein, & Loscocco
                                    176 Federal Street
                                    Boston, MA 02110
                                    (617) 482-4900
                                    FAX: (617) 426-5251
                                    Email: Photolaw@aol.com
            Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 2 of 22




I.     Basic Facts.

       A.     The Parties met in 2007 at a creative writing center in Boston.

       This lawsuit involves two writers, both of whom are authors, editors and writing

educators. Dorland lives in Los Angeles [Countercl.¶ 1], and Larson lives in Somerville.

[Countercl. ¶ 2].

       The women met each other in 2007 when Larson worked at GrubStreet, a creative writing

center in Boston. At the time, Dorland was a student who was taking a few classes at

GrubStreet. [Countercl. ¶ 8]. Dorland eventually moved from Boston, Washington, DC, and

then to California. [Countercl.¶ 7] Larson still works at GrubStreet. [Countercl. ¶ 2].

       The parties disagree about the strength and nature of their relationship. Larson claims

that the parties had a nominal relationship that consisted of a few dozen work-related emails,

scant social media exchanges, and a few in-person pleasantries at various social gatherings when

Dorland was living in the Boston area. [Am. Compl. ¶ 16]. Larson does not consider Dorland a

close personal friend by any measure.

       Conversely, Dorland claims that the Parties started to develop a “true friendship” in 2010,

and that they frequently socialized, had many mutual friends and shared a passion for writing and

educating aspiring writers. [Countercl. ¶ 9-15]. Dorland’s implication is that the two women

were extremely close friends. Dorland claims that she had a traumatic upbringing and struggled

to come to terms with this as an adult. Dorland asserts that Larson knew of Dorland’s struggles

because Dorland published an essay on the subject on the GrubStreet website in 2011.

[Countercl. ¶ 16-18]. There is no affirmation that Larson actually read the essay. When Dorland

moved from Boston to Washington, DC, Dorland allegedly hosted a farewell dinner where
            Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 3 of 22




Larson gave her a “thoughtful and personal going away gift.” Dorland further states that the

Parties stayed in touch while Dorland was in Washington, and they reconnected several times

each year at writing conferences. [Countercl. ¶ 19-21].

       B.     Dorland donated one of her kidneys anonymously in 2015.

       In 2015, Dorland donated one of her kidneys to a then-unknown recipient. [Countercl. ¶

22-33]. Dorland created a Facebook Group in 2015 “to share her [donation] experience with her

friends and family.” [Countercl. ¶ 34] Dorland designated the Facebook Group both “private”

and “secret,” which, according to Dorland, means that the Facebook Group was not visible in

Facebook search results and could only be seen by members of the Facebook Group. [Countercl.

¶ 35] In order to be become a member of the group, Dorland needed to add that person and then

that person had to decide if they wanted to join. If they accepted the invitation to the group, they

would be able to see Dorland’s posts and other member’s comments. [Countercl. ¶ 36]. Dorland

invited Larson to join the Facebook Group. [Countercl. ¶ 38]

       Dorland acknowledges that several members of the group expressed their support of

Dorland and her kidney donation by “liking” the posts or commenting on them. According to

Dorland, Larson never liked or commented on any of Dorland’s posts. [Countercl. ¶ 43-45].

       Shortly after Dorland’s kidney was removed, Dorland wrote a letter to the final recipient

of her kidney. [Countercl. ¶ 49] This letter (the “Dorland Letter”) was posted on Dorland’s

Facebook group on July 7, 2015. [Countercl. ¶ 55 and Exhibit A thereto]. Larson believes that

there were approximately 250 to 300 people in the group, but Dorland denies there was this

number, at least at the time she posted the Dorland Letter. [Am. Compl. ¶ 11 and Dorland’s

Answer Doc. No. 75, ¶ 11]. It is not known how many others Dorland may have been added to

the Facebook Group after the Dorland Letter was posted. Anyone added to the Group after the
                Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 4 of 22




letter was posted would still have access to the post containing the Dorland Letter. The Dorland

Letter was not registered with the Copyright Office until June 2018, almost three years after its

original publication on the Facebook Group. [Countercl. ¶ 54 and Exhibit B thereto].

           Larson admits that she had access to the Dorland Letter and found it interesting. Larson

did not download or print the 2015 Factual Letter but instead recorded a few thoughts and ideas

from the letter in her notes for future reference. [Am. Compl. ¶ 17].

           C.     Larson’s Short Story and its publication.

           In 2015, Larson started writing a fictional short story about a working class Chinese-

American woman who receives a kidney donation from a wealthy white woman (the “Short

Story” or “The Kindest” as the story was eventually named). The Short Story is divided into five

parts.1 Each part explores the different stages in the main character’s journey. The Kindest deals

with the complexities of indebtedness, addiction, love, shame, and race, and its central aim is to

depict a person of color resisting a white savior. [Am. Compl. ¶ 18].

           The second part of The Kindest includes a brief letter that is sent by the donor character

to the kidney recipient character. The letter is a small part of the overall narrative and is used

primarily to introduce the kidney donor character, and to set the stage for the eventual meeting

between the recipient and the donor. [Am. Compl. ¶ 19].

           There are five variants of The Kindest that have been published. Each of the variants are

referenced in the Counterclaim and are attached to this Memo as Exhibits A through E. While

each variant contains a letter which is used by Larson to introduce her characters, the letter is a




1
    The Amended Complaint erroneously says there were four parts. There were five parts to the story.
            Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 5 of 22




minor part of her story and comprises less than 5% of the total word count of each variant.2 The

Short Story was last modified in 2018. [See Ex. E and Larson Aff.]

         In June 2016, Dorland learned that Larson was writing a story about a “woman who

receives a kidney” that was “partially inspired” by Dorland’s own kidney donation. [Coutercl.

¶¶ 63-67]. Although Dorland knew as early as 2017, that The Kindest was “published in the

Emerging Writers issue of American Short fiction (“ASF”), a literary anthology” [Coutercl. ¶¶

82], it was not until June 2018, that Dorland claims that that she “accidentally” came across a

promotion for The Kindest on the ASF website. It was at this point that Dorland claims she read

the story for the first time, and she was “shocked” to see “a version of the Dorland Letter” in the

Short Story. [Coutercl. ¶ 88]

         Dorland’s counterclaim recounts how their so-called “friendship” deteriorated, including

how “Dorland was left feeling that Ms. Larson had taken advantage of their friendship . . . in

order to further her own artistic development.” [Coutercl. ¶¶ 69-81]. Of course, Larson’s

perception of the relationship was that it was cordial but nothing more. [Am Compl. ¶ 16].

         Dorland alleges that in using Dorland’s kidney donation experience and loosely

referencing Dorland’s difficult upbringing in The Kindest, Larson “knew or should have known

that emotional distress was likely to result.” [Countercl. ¶ 208] In these allegations, Dorland

references a perceived violation of trust and friendship resulting from the copying of the Dorland

Letter by Larson [Countercl. ¶ 199]; using the same “sign off” or valediction, namely the word,

“kindly” in the final version of The Kindest that Dorland used in her Letter [Countercl. ¶ 202];

misrepresenting the nature and publication status of The Kindest [Countercl. ¶ 203]; snubbing

2
  According to the word count function of Microsoft Word, the Dorland Letter [Exhibit F] contains 381 words. The
average length of each of the variants of The Kindest [Exhibits A through E] is 5,483. The average length of the
letters in the five variants of The Kindest is 249 words. On average, the letters in each of the five variants of the
Short Story comprises 4.5% of the Story. See, Affidavit of Sonya Larson submitted with this Memorandum which
summarizes the word count mathematics.
            Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 6 of 22




Dorland at a professional writing conference [Countercl. ¶ 206]; and ostracizing Dorland from

mutual acquaintances and isolating her from a valuable support network. [Countercl. ¶ 207].

Dorland claims that these actions constituted “extreme and outrageous conduct” that caused her

“emotional distress.” [Countercl. ¶ 208]. Of course, Larson sees her connection with Dorland as

a “nominal relationship.” [Am. Compl. ¶ 16].

       D.     Dorland claims to have suffered emotional distress as a result of Larson’s actions.

       Dorland claims that the letters in each of the five variants of The Kindest is substantially

similar to the Dorland Letter, and therefore infringes Dorland’s copyright for which she is

entitled to damages. [See, generally Coutercl. ¶¶ 88-162]. Dorland then claims that Larson’s

“hurtful and shocking artistic and personal betrayals” inflicted emotional distress on Dorland

[Coutercl. ¶¶ 167] and that Larson knew this was likely to happen. [Coutercl. ¶¶ 170]. Dorland

bases this assumption on the contention that Larson knew about Dorland’s abuse and trauma as a

child and adolescent, and that Larson incorporated these personal experiences into The Kindest in

violation of the Parties’ friendship and Dorland’s trust. [Coutercl. ¶¶ 199-200]. Dorland further

claims that Larson knew or should have known that her pattern of behavior would cause Dorland

emotional distress. [Coutercl. ¶ 208].

       E.      Larson entered her Short Story in a competition run by the Boston Book Festival

       Larson eventually entered The Kindest in a competition sponsored by the Boston Book

Festival (“BBF”). [Am. Compl. ¶ 32] Larson won the competition. [Am. Compl. ¶ 35]

However, because of the claims of plagiarism and copyright infringement first lodged by

Dorland against various literary groups and then against the BBF by her legal counsel, Larson

changed the letter in her Story to remove any possible similarity to the Dorland Letter. [Am.
            Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 7 of 22




Compl. ¶ 43 and Exhibit E to this Memo.]. The only remaining similar word in Larson’s Short

Story is the word “kindly” used in the valediction. [Countercl ¶ 160]

       The Parties attempted to resolve their differences with the BBF though legal counsel but

were unsuccessful. Irrespective of the merits of Dorland’s claims of copyright infringement, the

BBF was concerned that a lawsuit by Dorland had the potential to financially cripple the BBF

and jeopardize its future existence. As a result, the BBF rescinded its selection of The Kindest as

its contest winner. [Am. Compl. ¶ 57]

       Larson alleges that the BBF decision was based on Dorland’s persistence, aided and

abetted by claims of copyright infringement made Dorland’s attorneys, and warnings of

thousands of dollars in legal fees and damages under the Copyright Act. [Am. Compl. ¶ 59].

II.    Discussion

       A.     Legal Standard for Motion to Dismiss under Rule 12(b)(6)

       The standard of review for a motion to dismiss under Fed. R. Civ. P. 12(b)(6) is whether

the plaintiff has provided enough factual allegations that, when taken as true, state a claim to

relief that is plausible on its face. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). If

a plaintiff fails to “nudge their claims across the line from conceivable to plausible, their

complaint must be dismissed.” Bell Atlantic Corp. v. Twobly, 550 U.S. at 570. “A claim has

facial plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the alleged misconduct.” Ascroft v. Iqbal,

556 U.S. 662, 678 (2009). Moreover, this plausibility standard “is not akin to a ‘probability

requirement,’” but asks instead for “more than sheer possibility that a defendant acted

unlawfully.” Ascroft v. Iqbal, 556 U.S. at 678.
            Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 8 of 22




       An inquiry into a claim’s plausibility requires a two-step analysis. Rodriques-Reyes v.

Milina-Rodriguez, 711 F.3d 49, 53 (2013); Iqbal at 678-79. First, the court must separate any

conclusory legal allegations from factual allegations. Second, the court must consider whether

the remaining factual allegations give rise to a plausible claim of relief. Rodriques-Reyes, 711

F.3d at 53.

       Larson submits that Dorland’s claims fail to allege sufficient facts that would warrant a

finding of copyright infringement leading to damages or attorney’s fees, or of the intentional

infliction of emotional distress sufficient to meet Massachusetts’ standards.

       B.     Count I – Dorland’s Copyright Infringement Claim fails to establish that there is
              substantial similarity between her letter and the letter in The Kindest.

       In order to prove copyright infringement, one must show that the alleged infringer had

access to the original work and that the accused work is substantially similar to the original.

CMM Cable Rep, Inc. v. Ocean Coast Properties, Inc., 97 F.3d 1504, 1513 (1st Cir. 1996) (a

plaintiff must “prove that the copying of copyrighted material was so extensive that it rendered

the offending and copyrighted works substantially similar.”) See also, Johnson v. Gordon, 409

F.3d 12, 17–18 (1st Cir. 2005).

       Larson admits that she read the Dorland Letter and found it interesting. Therefore, this

Court need only focus on whether the letters in the published versions of The Kindest were

substantially similar to the Dorland Letter. To that end, Larson submits that (1) Dorland’s claims

incorrectly focus on the minutiae of the letters and lose sight of the expression in Larsons story,

and (2) the works are not substantially similar either in substance or purpose.

       Both the Dorland Letter and The Kindest deal with the general issue of kidney donations.

However, both exist in different universes and have dramatically different purposes. To that end,

focusing on individual words and phrases in the letters that are part of The Kindest is like losing
           Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 9 of 22




sight of the forest for the trees. LovePop, Inc. v. PaperPopCards, Inc., 286 F. Supp. 3d 283, 288

(D. Mass. 2018) (The court should take pains not to focus too intently on particular unprotected

elements at the expense of a work's overall protected expression.); CMM Cable Rep, Inc., 97

F.3d at 1513 (A plaintiff must “prove that the copying of copyrighted material was so extensive

that it rendered the offending and copyrighted works substantially similar.”)

       Larson acknowledges that there are a few words and phrases in the letters in early

versions of The Kindest that also appear in the Dorland Letter. However, Dorland is

perpetuating the exact analysis that Courts frown upon – dissecting a work to the degree that one

is blinded to the expressiveness of the ensemble itself. Situation Management Systems Inc., v.

ASP Consulting LLC,, 560 F.3d 53, 59 (1st Cir. 2009). Dorland’s focus on specific words and

phrases, as well as her preoccupation with a significant life experience, blinds her from the fact

that The Kindest is a story about relationships, and the complexities of indebtedness, addiction,

love, shame, and race. Dorland’s narrow focus on individual words and phrases and her

obsession with her kidney donation are not the proper inquiry in a substantial similarity analysis

under the circumstances.

       C       The competing letters are not substantially similar to each other either in
               substance or in purpose.

       The substantial similarity requirement focuses on the works in question from a holistic

perspective, and requires a showing that the copying was so extensive that the works were

rendered so similar that the later work represented a wrongful appropriation of expression. See,

Yankee Candle Co. v. Bridgewater Candle Co., 259 F.3d 25, 33 (1st Cir.2001), and Segrets, Inc.

v. Gillman Knitwear Co., 207 F.3d 56, 62 (1st Cir. 2000). When comparing literary works to

determine if there is substantial similarity, the Court must bear in mind that, “the essence of

infringement lies in taking not a general theme but its particular expression through similarities
          Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 10 of 22




of treatment, details, scenes, events and characterization.” O'Neill v. Dell Pub. Co., 630 F.2d

685, 686 (1st Cir. 1980).

       The First Circuit uses the “ordinary observer” test as one aid in determining whether

there is substantial similarity between two works. Under the ordinary observer test, a work is

substantially similar to the copyrighted work if an ordinary person of reasonable attentiveness

would, upon reading both, conclude that the defendant unlawfully appropriated the plaintiff's

protectable expression. See, Concrete Mach. Co. v. Classic Lawn Ornaments, 843 F.2d 600, 607

(1st Cir.1988); Educ. Testing Servs. v. Katzman, 793 F.2d 533, 541 (3d Cir.1986). Works can be

substantially similar despite the presence of disparities. The key is whether “the ordinary

observer, unless he set out to detect the disparities, would be disposed to overlook them, and

regard [the works'] aesthetic appeal as the same.” Peter Pan Fabrics, Inc. v. Martin Weiner Corp.,

274 F.2d 487, 489 (2d Cir.1960).

       Here, both authors use letters dealing with the concept of a kidney donation. However,

Dorland and Larson drafted the letters from different perspectives and for different purposes.

These different perspectives and purposes effect the ultimate substance of the letters including

their aesthetic appeal, details, scenes, events and character of the overall works. O’Neill, Supra,

630 F.2d at 686.

       The Dorland Letter was written in 2015 by Dorland and sent to the ultimate recipient of

her kidney. It marks a milestone in the context of Dorland’s experience of donating a kidney.

Alternatively, Larson’s letter, which is included in the second part of the five-part Short Story,

functions as a tool to introduce the two central figures, and sets the stage for their eventual

meeting. While Dorland’s letter recounts her personal experience in donating a kidney, the
           Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 11 of 22




letters in The Kindest introduce the kidney donor who revels in the hope that her altruistic

gesture will give renewed life to her recipient.

       Essentially, the Dorland Letter reflects on a personal experience and the need for more

organ donors [Countercl. Exhibit A], while the letters in The Kindest express hopefulness of a

future outcome between the two characters. Finally, the Dorland Letter exists within the context

of Dorland’s personal life experience, while the letters in The Kindest exist in a fictional

discussion about how race, class, economics, and physical health operate when two people’s

lives cross paths. At no point has Dorland ever asserted that the creation and distribution of her

letter was intended to reflect an engagement with such a discussion. Ultimately, the letter in

Larson’s Short Story is both a small part of the narrative and is used to express dramatically

different ideas than the Dorland Letter.

       D       Should this Court find that Larson’s use was substantially similar to the Dorland
               Letter, such use was de minimus.

       Within the substantial similarity analysis lies the issue of whether the degree of copying

was so trivial that it is deemed to be de minimus. On Davis v. The Gap, Inc., 246 F.3d 152, 173

(2d Cir. 2001), as amended (May 15, 2001); see also 2 Nimmer on Copyright, § 8.01[G] at 8-26

(2008). De minimis can mean that copying has occurred to such a trivial extent as to fall below

the quantitative threshold of substantial similarity, which is always a required element of

actionable copying. See Nimmer § 13.03 [A], at 13–27.

       There is no bright line that distinguishes between what is de minimus copying and what

constitutes substantial similarity. However, the legal maxim “de minimis non curat lex,”

translated to “the law does not concern itself with trifles,” insulates from liability those who

cause insignificant violations of the rights of others. Ringgold v. Black Entm't Television, Inc.,

126 F.3d 70, 74 (2d Cir. 1997) A de minimus analysis may be guided by either the
            Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 12 of 22




aforementioned ordinary observer test, Concrete Mach. Co., 843 F.2d at 607; Educ. Testing

Servs. v. Katzman, 793 F.2d 533, 541 (3d Cir.1986), or a “fragmented literal similarity” test.

Rose v. Hewson, No. 17CV1471 (DLC), 2018 WL 626350, at *4–5 (S.D.N.Y. Jan. 30, 2018),

citing TufAmerica, Inc. v. Diamond, 968 F. Supp. 2d 588, 598 (S.D.N.Y. 2013) and Nimmer on

Copyright § 13.03.

       If this Court uses the ordinary observer test, it must attempt to replicate the response of

an ordinary person of reasonable attentiveness. Concrete Mach. Co., 84 F.2d at 607. This Court

must be objective and emotionally neutral. It must remain impartial and be guided by the works

themselves, and whether the competing works reach the level of substantial similarity.

Something less than substantial similarity is not infringement. To that end, the Court must

scrutinize Dorland’s letter and Larson’s Short Story holistically to determine if the quantity of

the copied work is so minor that it verges as inconsequential in relation to the work as a whole.

This is especially important given the dramatically different ways in which the competing works

are used.

       With respect to the Dorland Letter, an ordinary person of reasonable attentiveness would

conclude that Larson did not unlawfully appropriate Dorland’s expression. Concrete Mach. Co.,

843 F.2d at 607 (Works can be substantially similar despite the presence of disparities. The key

is whether “the ordinary observer, unless he set out to detect the disparities, would be disposed to

overlook them, and regard [the works'] aesthetic appeal as the same.”). Certainly, an ordinary

person would recognize the commonality of a kidney donation in both the Dorland Letter and

Larson’s Story, and the similarity of a few words and phrases, but no rational fact finder would

mistake Dorland’s Letter for Larson’s Story. The aesthetic appeal in context, or in this case, the
            Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 13 of 22




literary appeal between the works are simply not the same. See, Peter Pan Fabrics, Inc. v. Martin

Weiner Corp., 274 F.2d 487, 489 (2d Cir.1960).

       E.       The Fragmented Literal Similarity test is an alternate test for infringement.

       Courts have recognized that even when parts of a pre-existing work have been copied, the

copying, although literal, is not comprehensive and therefore, not infringing. (May v. Sony

Music Entm't, 399 F. Supp. 3d 169, 180 (S.D.N.Y. 2019)) (“[F]ragmented literal similarity exists

where the defendant copies a portion of the plaintiff's work exactly or nearly exactly, without

appropriating the work's overall essence or structure.”) Under the fragmented literal similarity

test, “the question of substantial similarity is determined by an analysis of ‘whether the copying

goes to trivial or substantial elements of the original work.” Id. See, also, Rose v. Hewson, No.

17CV1471 (DLC), 2018 WL 626350, at *4–5 (S.D.N.Y. Jan. 30, 2018), citing TufAmerica 968

F.Supp,. 2d at 598 and Nimmer § 13.03. The copied text must be significant to the author’s

work to be infringing both quantitatively and qualitatively. May, 399 F. Supp. 3d at 180,

Ringgold, 126 F.3d at 75.

       Here, Larson took a few notes from the Dorland Letter and used a few words and phrases

from the letter in early versions of The Kindest in a totally different way than Dorland used her

words and phrases. This does not pass the quantitative or qualitative test of fragmented literal

similarity test. Unlike the situation in Situation Mgmt. Sys., Inc., 560 F.3d at 58–59, where the

plaintiff identified hundreds of instances of verbatim copying and rough paraphrasing in

defendant’s works, Dorland can only identify a few words and phrases from her 381-word letter

that Larson used. The percentage of the original work that Larson used constitutes only a tiny

percentage of the overall work. Therefore, Dorland fails to show how Larson’s use rises to the
             Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 14 of 22




level found in the Situation Management, thus failing to show that Larson surpassed the

infringement threshold.

        F.       Larson’s use of a few words and phrases from the Dorland letter is fair use.

        In addition to the de minimus doctrine and the lack of substantial similarity, the Court can

find that Larson’s use of a few words and phrases from Dorland’ Letter was transformative fair

use under 17 U.S.C. §107. Fair use “tempers the protection of copyright by allowing an author

to use a limited amount of copyrighted material under some circumstances.” Twin Peaks Prods.,

Inc. v. Publications Int'l, Ltd., 996 F.2d 1366, 1373 (2d Cir.1993).

        The Supreme Court in Campbell v. Acuff–Rose Music, Inc., 510 U.S. 569, 114 S.Ct.

1164, 127 L.Ed.2d 500 (1994), said that “[f]rom the infancy of copyright protection, some

opportunity for fair use of copyrighted materials has been thought necessary to fulfill copyright's

very purpose, ‘To promote the Progress of Science and useful Arts.’ ” Id. at 575, 114 S.Ct. 1164

(quoting U.S. Const., Art. I, § 8, cl. 8).

        Section 107 says that despite the exclusive rights given under copyright, the use of a

copyrighted work for purposes such as criticism, comment, news reporting, teaching (including

multiple copies for classroom use), scholarship, or research, is not an infringement of copyright.

The list is “illustrative and not limitative” and it provides only general guidance about the sorts

of copying that courts and Congress most commonly had found to be fair uses. Campbell, 510

U.S. at 577–78. Larson believes that her use of a few words and phrases from the Dorland Letter

is forgiven under the fair use doctrine.

        In determining whether the use made of a work in any particular case is a fair use the

factors to be considered shall include:

        (1) the purpose and character of the use, including whether such use is of a commercial
        nature or is for nonprofit educational purposes;
          Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 15 of 22




       (2) the nature of the copyrighted work;
       (3) the amount and substantiality of the portion used in relation to the copyrighted work
       as a whole; and
       (4) the effect of the use upon the potential market for or value of the copyrighted work.

       (1)     Purpose and character of the use. Dorland created her Facebook Group “to share

her experience with her friends and family.” [Coutercl. ¶ 34] Dorland posted updates

concerning her surgery [Coutercl. ¶ 40] and information concerning living kidney donations in

general [Coutercl. ¶ 41] Following her surgery, Dorland wrote a letter to the woman in Oregon

who was the final recipient of her kidney in the surgical chain that Dorland started. [Coutercl. ¶

49]. A copy of the letter was posted to Dorland’s Facebook Group on July 7, 2015. [Coutercl. ¶

55] In the letter, Dorland writes about “the dire need in our country for kidneys” and hoping that

“many more people would be motivated to donate an organ to a friend or family member in

need.” [Coutercl. Ex. A] Thus, while the letter was posted to a private Facebook Group, it was

actually addressed to the country at large in hopes of motivating others to consider organ

donations.

       Larson uses the Dorland Letter in a short story for a purpose that is totally different from

what Dorland intended when she wrote and posted her letter. Larson’s use is highly

transformative. (Authors Guild, Inc. v. HathiTrust, 755 F.3d 87, 96 (2d Cir. 2014)) (“A use is

transformative if it does something more than repackage or republish the original copyrighted

work. The inquiry is whether the work “adds something new, with a further purpose or different

character, altering the first with new expression, meaning or message....” citing Campbell, 510

U.S. at 574 “[T]he more transformative the new work, the less will be the significance of other

factors ... that may weigh against a finding of fair use.” . . . [A] transformative work is one that

serves a new and different function from the original work and is not a substitute for it.”)
          Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 16 of 22




       The fact that Larson earned $425 to date from licensing The Kindest [Am. Compl. ¶¶ 30-

31] does not alter the transformative nature of her work. See, Blanch v. Koons, 467 F.3d 244,

253 (2d Cir. 2006). In fact, The Kindest may help to promote Dorland’s expressed aim of

encouraging others to consider organ donations. This factor strongly favors Larson.

       (2)     The Nature of the Copyrighted Work

       Dorland’s Counterclaim does not say what she ultimately intended to do with her letter

other than to share her kidney donation experience with friends and family [Countercl. P 34], and

to motivate others to make organ donations. [Countercl. Ex. A.] What is more interesting is that

Dorland says that several members of her Facebook Group expressed support for Dorland’s

kidney donation by “liking” or commenting on the posts. [Countercl. P. 43] Dorland complains

that Larson “never commented on” or “liked” any of her posts. [Countercl. P. 44-45] This

makes the Dorland’s Letter seem chatty just like most Facebook posts, but not something to be

protected.

       It is also interesting that the Dorland Letter is one of many posts that Dorland made to her

Facebook Group. Dorland refers to her “posts” [plural] in her Counterclaim [p. 43], and she

alleges that Larson “saw” every post and every comment that was made, whether by Dorland or

another member of the Facebook Group.” [Countercl.¶¶ 46-48] It is also interesting that the

letter is the only post that has been registered with the U.S. Copyright Office and that it took

almost three years for Dorland to get around to register her letter. [See Affidavit of Andrew D.

Epstein submitted herewith.] Thus, it does not seem like Dorland has spent much time in trying

to protect her Facebook posts, other than the tardy registration of the Dorland Letter.

       Additionally, the Dorland Letter is mostly factual and informational, and, while claiming

to have published it to a limited Facebook audience, Dorland invited “likes” and “comments.”
          Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 17 of 22




       “Courts have generally adopted two types of distinctions in their analysis of the second

factor: (1) whether the work is expressive or creative, such as a work of fiction, or more factual

with a greater leeway being allowed to a claim of fair use where the work is factual or

informational, and (2) whether the work is published or unpublished, with the scope for fair use

involving unpublished works being considerably narrower.” (N. Jersey Media Grp. Inc. v. Pirro,

74 F. Supp. 3d 605, 619 (S.D.N.Y. 2015).

       Because of the factual and informational nature of the letter and its publication, albeit

limited to Dorland’s Facebook Group, this factor under Section 107 again favors Larson.

       (3)     The amount and substantiality of the portion used in relation to the copyrighted
               work as a whole

       It has already been discussed that Larson was inspired by Dorland’s Letter and that she

used a few words and phrases in early versions of The Kindest. The court should consider that

“the amount and substantiality of the portion used in relation to the copyrighted work as a whole

is small. This is something of a sliding scale: the larger volume (or the greater importance) of

the original taken, the less likely the taking will qualify as a fair use. Adjmi v. DLT Entm't Ltd.,

97 F. Supp. 3d 512, 533 (S.D.N.Y. 2015)

       This factor thus employs both a quantitative and qualitative assessment, tempered,

however, by determining the extent to which the appropriation is consistent with the

transformative use. May v. Sony Music Entm't, 399 F. Supp. 3d 169, 190 (S.D.N.Y. 2019).

       As has been shown, Larson used only a small number of words and phrases from

Doland’s letter and Larson transformed the use into something vastly different from the Dorland

Facebook post. Thus, this factor greatly favors Larson.

       (4)     The effect of the use upon the potential market for or value of the copyrighted
               work.
          Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 18 of 22




       The fourth factor considers the effect of the use upon the potential market for or value of

the copyrighted work. The question “requires courts to consider not only the extent of market

harm caused by the particular actions of the alleged infringer, but also ‘whether unrestricted and

widespread conduct of the sort engaged in by the defendant ... would result in a substantially

adverse impact on the potential market’ for the original.” (Campbell, 510 U.S. at 590)

       It is difficult to see how one Facebook post taken out of context with Dorland’s other

related Facebook posts would have any market value that could be usurped. Thus, this fact

greatly favors Larson.

       Larson’s use of the Dorland Letter satisfies the ultimate test of fair use, that is, whether

the copyright law's goal of ‘promoting the Progress of Science and useful Arts is better served by

allowing the use than by preventing it. Blanch v. Koons, 467 F.3d 244, 251 (2d Cir. 2006)

G.    Dorland has not been damaged.

       Dorland is seeking actual damages plus Larson’s past and future profits from The

Kindest. [Counterclaim ¶182]. Even if this Court finds that Larson infringed the Dorland Letter,

Dorland’s damages are nominal at best. Furthermore, Dorland is seeking attorney’s fees under

Section 505 of the Act. [Counterclaim ¶183].

       Arguably, while early versions of The Kindest may have contained a few words and

phrases similar to those in the Dorland Letter, Larson has since revised The Kindest and the final

version of the story contains only the word “kindly.” [Countercl. ¶ 160] All other accused

words and phrases from the Dorland Letter have been removed from the final variant of The

Kindest. [See, Exhibit E.] It should be noted that “kindly” is a play on the title of the Story.

       Up through the time Larson completed the final version of her story for the Boston Book

Festival [Exhibit E], she received total revenue of $425 from licensing The Kindest. [Am.
         Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 19 of 22




Complt. ¶¶ 30-31]. Again, assuming Dorland is able to prove that Larson infringed the Dorland

Letter, the maximum amount Dorland can recover is $425, and it is likely that after months of

writing and promoting her story, Larson’s expenses exceed her revenues; meaning that she did

not earn any “profits” from the work. Also, since the letter in The Kindest is only a small part of

Larson’s Story, Dorland is only entitled to a small portion of any profits earned.

       Actual damages for copyright infringements are calculated in one of two ways, neither of

which provides substantial potential recovery for Dorland. First, damages may be calculated by

measuring the difference between the original work’s fair market value, and the profits lost as a

result of the infringement. Data Gen. Corp. v. Grumman Sys. Support Corp., 36 F.3d 1147, 1170

(1st Cir.1994). Damages may also be calculated by determining the amount a

plaintiff would charge as a licensing fee to use the original work. See, Bruce v. Weekly

World News, 310 F.3d 25, 28 (1st Cir. 2002). Dorland fails to show whether the Dorland Letter

has any intrinsic, marketable or potential value, or whether the letter would command a

reasonable licensing fee for use. Therefore, Dorland’s damages are nominal at best.

H.     Attorney fees not available to Dorland because she did not register her copyright until
       after the alleged infringement.

       Additionally, Dorland is not entitled to attorney’s fees as a matter of law because the

Dorland Letter was not registered with the Copyright Office before the alleged infringement by

Larson. In order to recover attorney’s fees, one must register an unpublished work either before

the work is infringed, or within three months of publication. 17 U.S.C. § 412. Here, Dorland did

not register the copyright to the Dorland Letter for almost three years after Larson

allegedly infringed it. [Countercl. ¶ 54 and Ex. B] (IvyMedia Corp. v. iLIKEBUS, Inc., 252 F.

Supp. 3d 34, 41 (D. Mass. 2017)) “The Copyright Act does not permit statutory damages or
          Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 20 of 22




attorneys' fees if the allegedly infringing activity begins before the copyright was registered.”

Therefore, Dorland’s request for attorney’s fees must fail as a matter of law.

I.     Count IV - Intentional Infliction of Emotional Distress

       Dorland is seeking damages against Larson for intentionally causing her emotional

distress. Dorland’s claim for emotional distress is based on Dorland’s perception that Larson

was a friend who betrayed her by writing a story based on Dorland’s kidney donation experience,

and used a few words and phrases from the Dorland Letter in various versions of The Kindest.

[Countercl. ¶¶ 197-202]

       Even if this Court accepts as true for purposes of this Motion, all allegations made by

Dorland, Larson’s conduct as alleged does not rise to the level required by Massachusetts law to

prove intentional infliction of emotional distress.

       In order for Dorland to prove she has an actionable claim, she must establish that (1)

Larson intended, knew, or should have known that her conduct would cause emotional distress;

(2) the conduct was so “extreme and outrageous” that it was “beyond all possible bounds of

decency” and “utterly intolerable in a civilized community;” (3) the conduct actually caused

emotional distress; and (4) that the emotional distress was severe to the degree that “no

reasonable [person] could be expected to endure it.” Agis v. Howard Johnson Co., 371 Mass.

140, 144-4 (1976). Liability cannot be predicated on “mere insults, indignities, threats,

annoyances, petty oppressions, or other trivialities.” Tetrault v. Mahoney, Hawkes & Goldings,

425 Mass. 456, 466 (1977) (internal quotations omitted).

       It is also insufficient if “the defendant has acted with an intent which is tortious or even

criminal, or that she intended to inflict emotional distress, or even that her conduct has been

characterized by “malice,” or a degree of aggravation which would entitle the plaintiff to
            Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 21 of 22




punitive damages for another tort.” Id. These particular standards are “aimed at limiting

frivolous suits and avoiding litigation in situations where only bad manners and mere hurt feeling

are involved.” Agis, 371 Mass. at 145. A judge may grant a motion to dismiss where the

conduct alleged in the complaint does not rise to such levels.

        Dorland fails to show how drawing inspiration from her life experience amounts to

atrocious and utterly intolerable conduct within a civilized society. Moreover, a mere perceived

betrayal of a friendship and hurt feelings does not give rise to an actionable claim for emotional

distress.

        Furthermore, Dorland has not alleged nor can she establish that Larson owed Dorland any

duty of care with respect to their relationship. Even if the Parties were friends to one degree or

another, and even if there were a few words and phrases from the Dorland Letter that were used

in early variants of The Kindest, and even if Larson was influenced by Dorland’s kidney

donation experience as alleged, such behavior does not amount to extreme and outrageous

conduct on the part of Larson that gives rise to a viable action for the emotional distress Dorland

claims she suffered. Larson feels badly, as she would for any person who is suffering, but she is

simply not responsible for Dorland’s emotional distress.


IV.     Conclusion

        For all of the above reasons, Dorland has failed to allege plausible claims from which

reasonable inferences can be made that Larson is liable for copyright infringement, attorney’s

fees or the intentional infliction of emotional distress, and Larson requests this Court to dismiss

Dorland’s Counterclaims in their entirety.
         Case 1:19-cv-10203-IT Document 78 Filed 05/15/20 Page 22 of 22




                                            Sonya Larson,
                                            By her attorney,

May 15, 2020                                /s/ Andrew D. Epstein
                                            ___________________________
                                            Andrew D. Epstein, Esquire
                                            BBO #155140
                                            Barker, Epstein, & Loscocco
                                            176 Federal Street
                                            Boston, MA 02110
                                            (617) 482-4900
                                            FAX: (617) 426-5251
                                            Email: Photolaw@aol.com



                                     Certificate of Service


        I certify that Plaintiff, Defendant in Counterclaim’s Motion to Dismiss the Counterclaim
of Defendant, Plaintiff in Counterclaim was filed through the court’s ECF system and a copy was
sent electronically on the day it was filed to all counsel of record.



                                                   /s/ Andrew D. Epstein
                                                   ________________________
May 15, 2020                                       Andrew D. Epstein
